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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNES SEE

WESTERN DIVISION
SMITH & NEPHEW, INC.,
Plaintiff,
v. No. 012-2455 B
FEDERAL INSURANCE CO.,
Defendant_

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ORDER AFFIRM]NG DECISION OF THE MAGISTRATE JUDGE

 

On March 24, 2005, Magistrate Judge S. Thomas Anderson entered an order granting the

motion of the Defendant, Federal Insurance Co., to file an amended answer. Following entry of the

order, objections Were filed by the Plaintiff, Smith & Nephew, ]nc., to Which the Defendant has

responded Upon a review of all of the relevant p]eadings, the Court concludes that the magistrate

judge's findings Were neither clearly erroneous nor contrary to law. w Fed. R. Civ. P. 72(a).

Accordingly, the Defendant's objections are OVERRULED and the magistrate judge's order is

AFFIRMED.

IT IS SO ORDERED this _ day 0 ay, 2005.

 

J A IEL BREEN \
rr STATES DISTRICTJUDGE

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Martin C. Pentz

FOLEY HOAG LLP

Seaport World Trade Center West
15 5 Seaport Blvd.

Boston7 MA 02210--260

William B. lakes
HOWELL & FISHER

300 J ames Robertson PkWy
Nashville, TN 37201--1 10

Mark Vorder-Bruegge

WYATT TARRANT & COl\/[BS
P.O. Box 775000

l\/lemphis7 TN 38177--500

Honorable J. Breen
US DISTRICT COURT

